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12
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14
                                      UNITED STATES DISTRICT COURT
15
                                     NORTHERN DISTRICT OF CALIFORNIA
16
   DEMETRIC DI-AZ, OWEN DIAZ AND                     Case No. 17-cv-06748-WHO
17 LAMAR PATTERSON

18                     Plaintiffs,                   DECLARATION OF PATRICIA M. JENG IN
                                                     SUPPORT OF DEFENDANT TESLA, INC.’S
19            v.                                     MOTION FOR JUDGMENT AS A MATTER
                                                     OF LAW PURSUANT TO FED. R. CIV. P.
20 TESLA, INC. DBA TESLA MOTORS,                     50(a)
   INC., CITISTAFF SOLUTIONS, INC.;
21 WEST VALLEY STAFFING GROUP;
   CHARTWELL STAFFING SERVICES,                      Courtroom: 2, 17th Floor
22 INC.; NEXTSOURCE, INC.; and                       Judge:     Hon. William H. Orrick
   DOES 1-10, inclusive
23
                Defendants.                          Trial Date;      September 27, 2021
24                                                   Complaint Filed: October 16, 2017

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                                                                             Case No. 17-cv-06748-WHO
     SMRH:4840-7384-6013.1            JENG DECLARATION ISO DEFENDANT TESLA’S MOTION FOR JUDGMENT
      Case 3:17-cv-06748-WHO Document 282-1 Filed 10/01/21 Page 2 of 6




 1                                               DECLARATION

 2            I, Patricia M. Jeng, declare as follows:

 3            1.       I am currently an attorney with the law firm Sheppard Mullin Richter & Hampton,

 4 LLP which serves as Defendant Tesla, Inc.’s (“Tesla”) attorneys of record in the above-captioned

 5 matter. I am a member in good standing of the State Bar of California. I have personal

 6 knowledge of the facts set forth in this declaration and, if called as a witness, could and would

 7 testify competently to such facts under oath.

 8            2.       Exhibit 1 to this declaration consists of true and correct copies of excerpts of the

 9 September 29, 2021 Official Trial Transcript in the above captioned matter.
10            I declare under penalty of perjury under the laws of the United States of America that the
11 foregoing is true and correct.

12            Executed this 1st day of October 2021, at San Francisco, California.

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                                                                       /s/ Patricia M. Jeng
14
                                                                         Patricia M. Jeng
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                                                         -1-                Case No. 17-cv-06748-WHO
     SMRH:4840-7384-6013.1           JENG DECLARATION ISO DEFENDANT TESLA’S MOTION FOR JUDGMENT
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            EXHIBIT 1
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                                                             Diaz vs Tesla, Inc.
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                                                                                                                                            370


                                                     Volume 3           APPEARANCES:    (CONTINUED)
                                                     Pages 369 - 544    For Defendants:            SHEPPARD MULLIN RICHTER & HAMPTON LLP
                                                                                                   333 S. Hope Street
                    UNITED STATES DISTRICT COURT                                                   43rd Floor
                                                                                                   Los Angeles, California 90017
                   NORTHERN DISTRICT OF CALIFORNIA                                           BY:   TRACEY A. KENNEDY, ESQ.
               BEFORE THE HONORABLE WILLIAM H. ORRICK
                                                                                                   SHEPPARD MULLIN RICHTER & HAMPTON, LLP
DEMETRIC DI-AZ, OWEN DIAZ AND      )                                                               379 Lytton Ave
LAMAR PATTERSON                    )                                                               Palo Alto, California 94301
                                   )                                                         BY:   PATRICIA M. JENG, ESQ.
                                   )
             Plaintiffs,           )
                                   )                                                               SHEPPARD MULLIN RICHTER & HAMPTON LLP
  vs.                              ) No. C 17-6748 WHO                                             Four Embarcadero Center
                                   )                                                               17th Floor
TESLA, INC., dba TESLA MOTORS,     )                                                               San Francisco, California 94111
INC., CITISTAFF SOLUTIONS, INC.,   )                                                         BY:   SUSAN Q. HAINES, ESQ.
WEST VALLEY STAFFING GROUP,        )
CHARTWELL STAFFING SERVICES, INC., )
and DOES 1-50, inclusive,          )
                                   ) San Francisco, California          Also Present:                 JOSEPH ALM, ESQ.
             Defendants.           ) Wednesday                                                        - Tesla, Inc.
                                   ) September 29, 2021
___________________________________) 8:00 a.m.                                                        YUSUF MOHAMED, ESQ.
                                                                                                      - Tesla, Inc.
                TRANSCRIPT OF JURY TRIAL PROCEEDINGS
                                                                                                      VALERIE CAPERS WORKMAN
APPEARANCES:                                                                                           - Tesla, Inc.
For Plaintiffs:             ALEXANDER MORRISON & FEHR LLP                                               _   _   _
                            1900 Avenue of the Stars
                            Suite 900
                            Los Angeles, California 90067
                      BY:   BERNARD ALEXANDER, ESQ.

                            CALIFORNIA CIVIL RIGHTS LAW GROUP
                            332 San Anselmo Avenue
                            San Anselmo, California 94960
                      BY:   LAWRENCE A. ORGAN, ESQ.
                            CIMONE A. NUNLEY, ESQ.
          (APPEARANCES CONTINUED ON FOLLOWING PAGE)
Reported By:         Debra L. Pas, CSR 11916, CRR, RMR, RPR
                     Official Reporter - US District Court
                     Computerized Transcription By Eclipse



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                                PROCEEDINGS                                                             PROCEEDINGS
  1   Wednesday - September 29, 2021                   8:01 a.m.          1            THE COURT: All right. And then the other thing I
  2                        PROCEEDINGS                                    2   just wanted to mention, yesterday I allowed Wayne Jackson to
  3                               ---000---                               3   testify about his experience of hearing the "N" word throughout
  4        (Proceedings were heard out of presence of the jury.)          4   the factory. And on Monday I admitted Exhibit 106 concerning
  5             THE COURT: All right. There are two things on my          5   Mr. Romero's credibility regarding his hearing of the "N" word.
  6   mind this morning. One is the counter designations and              6        I did so because it appears from Tesla's presentation of
  7   objections regarding Erin Marconi. And I think in every             7   the case, from the opening of the argument to the designations
  8   instance I'm going to overrule the objection to the counter         8   in the depositions, that it wishes to minimize the use of the
  9   designation and overrule the objection to the testimony. So         9   "N" word in the workplace at Tesla, which is fine, but so this
 10   all of the testimony can come in that the parties are              10   counter evidence I think is relevant.
 11   interested in.                                                     11        I am willing and inclined to give the jury a further
 12             MR. ORGAN: Your Honor, just a question on that then.     12   limiting instruction, and I can do that this morning. It would
 13   With respect to how they are presented, do you want the            13   be primarily at the defendant's -- I'll let the defendant
 14   designations presented with the counter designations then          14   decide whether this is something that you would like or not,
 15   together?                                                          15   but it would be to the effect of:
 16             THE COURT: Yeah, I think that's the smoothest way of     16        As you know, I admitted Exhibit 106 for the limited
 17   dealing with things.                                               17   purpose of your consideration of the credibility of
 18             MR. ORGAN: So we'll have one video.                      18   Mr. Romero's testimony. And yesterday I allowed Mr. Jackson to
 19             THE COURT: One video.                                    19   testify about his experience hearing the "N" word in the Tesla
 20             MR. ORGAN: In terms of the time, Your Honor --           20   factory.
 21             THE COURT: You time it yourself.                         21        I want to remind you that this case is about Mr. Diaz and
 22             MR. ORGAN: We'll produce that tonight. So we'll --       22   the work environment that he experienced at the Tesla factory,
 23   it's our intent to present it, then, tomorrow, Your Honor.         23   not what others in a different part of the facility
 24             THE COURT: Great.                                        24   experienced.
 25             MR. ORGAN: Okay. Thank you.                              25            MS. KENNEDY: Yes, Your Honor, that would be
                                                             Debra L. Pas, CRR
                                                   Official Reporter - U.S. District Court
                                                              (415) 431-1477
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                         DIAZ - CROSS / KENNEDY                                                   DIAZ - CROSS / KENNEDY
 1            THE COURT: Well, if it's better to see Mr. Organ,           1   that you were a Tesla employee at any point in time?
 2   yes.                                                                 2   A. No, ma'am.
 3            MS. KENNEDY: I'll move it back a little farther.            3   Q. Lets go to Exhibit 19.
 4            MR. ORGAN: I think he wants you to move it back.            4            MS. KENNEDY: 19 has been admitted, Your Honor. It's
 5            MS. KENNEDY: I'll move it back. That's better.              5   the badge.
 6   BY MS. KENNEDY:                                                      6            THE COURT: Okay.
 7   Q. Mr. Diaz, as part of your employment with CitiStaff, you          7        (Document displayed.)
 8   actually completed a direct deposit form so you could be paid        8   BY MS. KENNEDY
 9   through CitiStaff; correct?                                          9   Q. Mr. Diaz, you got this badge, I think you said, around
10   A. Yes.                                                             10   your first day of employment with CitiStaff Solutions; is that
11   Q. Did you ever complete any type of direct deposit forms for       11   correct?
12   Tesla?                                                              12   A. I got that badge the first day I walked inside of Tesla.
13   A. No.                                                              13   Q. Right. And that was before you said you started your
14   Q. Mr. Diaz, did you ever get my type of written contract           14   safety trainings; correct? Orientations and your safety
15   from Tesla?                                                         15   trainings?
16            MR. ORGAN: Objection. Calls for a legal conclusion,        16   A. Yes.
17   Your Honor.                                                         17   Q. And as you can see, it says "Contractor" on the left-hand
18            THE COURT: You can answer that. Any sort of a              18   side of your badge. Do you see that?
19   written agreement from Tesla?                                       19   A. Yes, I see that under the "Certified Forklift" sign,
20            THE WITNESS: I did get an agreement, but I don't know      20   ma'am.
21   if the NDA was part that. So can you be a little more               21   Q. Right. And on top of that it says "Tesla Motors";
22   specific, ma'am?                                                    22   correct?
23   BY MS. KENNEDY                                                      23   A. Yes.
24   Q. Sure.                                                            24   Q. And you're required to wear this badge at all times when
25        Did you ever get any written document from Tesla saying        25   you were in the Tesla facility; correct?

                                                                  499                                                                      500
                         DIAZ - CROSS / KENNEDY                                                   DIAZ - CROSS / KENNEDY
 1   A. No. It looks beat up because it was in my wallet, ma'am.          1   to the Tesla Fremont facility and they're going to be on the
 2   Q. Okay. You had to have it on you at all times; correct?            2   factory floor, if they are provided any type of safety training
 3   A. Yes. That's the only way I can get in and out of the              3   before they're allowed on the factory floor?
 4   building.                                                            4   A. No, I wouldn't know that.
 5   Q. Right. So this Tesla badge was to let you get entry into          5   Q. But it's your position, according to your testimony, that
 6   the facility; correct?                                               6   anyone who is there -- contractors, employees -- they were all
 7   A. Yes.                                                              7   treated the same and you couldn't tell who was who; correct?
 8   Q. And is it also -- do you have an understanding as to              8   A. You're misstating my testimony.
 9   whether any contractor, whether they're a contractor through a       9   Q. Well, let me ask you this. It was your testimony that
10   staffing agency or a third-party contractor, who is coming in       10   when you got to Tesla, you couldn't tell who a Tesla employee
11   to the factory where you worked for more than a few days, if        11   was or a contractor or anyone else; correct?
12   they have to go through any type of safety training to be on        12   A. Correct.
13   the factory floor?                                                  13   Q. And I also understand that -- I believe you stated that
14   A. I wouldn't have knowledge of that, ma'am.                        14   basically from almost the first day that you started working at
15   Q. So you have no idea what the safety orientation                  15   the Tesla factory in Fremont, you were being called racial
16   requirements are for any visitors to the factory in Fremont;        16   slurs; is that correct?
17   correct?                                                            17   A. No. I never stated almost the first day, ma'am.
18   A. Correct.                                                         18   Q. Was it within the first two weeks?
19   Q. And do you know if lawyers, for example, or accountants          19   A. I can't recall when it first started.
20   who are coming in who have to be on the factory floor, if they      20   Q. Was it before or after August of 2015?
21   have to go through any type of safety training before they are      21   A. It was before.
22   allowed on the Fremont factory floor?                               22   Q. So sometime between June and between August of 2015 is
23   A. Can you repeat that question, please?                            23   when the racial slurs started; correct?
24   Q. Certainly. Do you have any knowledge one way or the other        24   A. Yes.
25   if, for example, lawyers or accountants or anyone else coming       25   Q. And you would agree all those racial slurs that were said
                                                             Debra L. Pas, CRR
                                                   Official Reporter - U.S. District Court
                                                              (415) 431-1477
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                    CERTIFICATE OF REPORTER




     I certify that the foregoing is a correct transcript from
the record of proceedings in the above-entitled matter.




              ___________________________________
            Debra L. Pas, CSR 11916, CRR, RMR, RPR
                 Wednesday, September 29, 2021




                                                           Debra L. Pas, CRR
                                                 Official Reporter - U.S. District Court
                                                            (415) 431-1477
